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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                        VERINATA HEALTH, INC., ET AL.,
                                   7                                                        Case No. 12-cv-05501-SI
                                                        Plaintiffs.
                                   8
                                                  v.                                        JUDGMENT IN A CIVIL CASE
                                   9
                                        ARIOSA DIAGNOSTICS, INC, et al.,
                                  10
                                                        Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13            This action came on for trial before the jury, the Honorable Susan Illston, United States

                                  14   District Judge presiding. The issues having been tried before the Court and verdict rendered on

                                  15   January 25, 2018.

                                  16            IT IS ORDERED AND ADJUDGED that pursuant to the findings, judgment shall be
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                                       entered in favor of plaintiff, Verinata Health Inc., et al. and against defendant Ariosa Diagnositics,
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                                       Inc., et al..
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                                                IT IS SO ORDERED AND ADJUDGED
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                                       Dated: 1/26/18
                                  22                                                         ______________________
                                  23                                                         Honorable Susan Illston
                                                                                             U.S. District Judge
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